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Pro Se 2 (Rev. 12/ 16) Complaint and Request for Injunction


                                                                                                              FILED IN CLERK'SOFFICE
                                         UNITED STATES DISTRICT COUR                                                U.S.O.C.. At!anla

                                                                          for the
                                                                                                                JAN 24 2025
                                                              Northern District of Georgia
                                                                                                              KEV
                                                                     Atlanta Division                        By:                   tllYClerk


                       DEREK MCKINNEY                                       )
                                                                            )
                                                                                    Case No.
                                                                                                      1 : 25-CV- 0 30 3
                                                                            )
                                                                            )
                              Plaintiff(s)
                                                                            )
                                   -v-
                                                                            )
                                                                            )
                                                                            )
                                                                            )
  DONALD TRUMP, President of the United States;                             )
         CHAD MIZELLE, Chief of Staff;                                      )
  JAMES R. MCHENRY Ill, Acting Attorney General;                            )
 KATHLEEN WOLFE, Civil Rights Division Supervisor
                                                                            )
                              Defendant(s)
                                                                            )
                                                                            )




                                     COMPLAINT AND REQUEST FOR INJUNCTION

I.         The Parties to This Complaint
           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                 Name                                  Derek Mckinney
                                 Street Address                        125 N Arcadia Ave Apt 648
                                 City and County                       Decatur,       Dekalb County
                                 State and Zip Code                    Georgia
                                 Telephone Number                      678-927-7110
                                 E-mail Address


           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if known). Attach additional pages if needed.
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                     Defendant No. 1
                                Name                          Donald Trump
                                Job or Title (if known)       President of the United States
                                Street Address
                                City and County
                                State and Zip Code            District of Columbia
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 2
                                Name                          Chad Mizelle
                                Job or Title (if known)       Chief of Staff
                                 Street Address
                                 City and County
                                 State and Zip Code           District of Columbia
                                 Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 3
                                 Name                         James R McHenry Ill
                                 Job or Title (if known)      Acting Attorney General
                                 Street Address
                                 City and County
                                 State and Zip Code            District of Columbia
                                 Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 4
                                 Name                          Kathleen Wolfe
                                 Job or Title (if known)       Civil Rights Division Supervisor
                                 Street Address
                                 City and County
                                 State and Zip Code            District of Columbia
                                 Telephone Number
                                 E-mail Address (if known)



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II.       Basis for Jurisdiction

          Federal courts are courts oflimited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

           What is the basis for federal court jurisdiction? (check all that apply)
                  ~Federal question                                 D Diversity of citizenship
           Fill out the paragraphs in this section that apply to this case.

           A.        If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at issue in this case.
                       The 14th Amendment to the United States Constitution; Section 1
                       The 14th Amendment to the United States Constitution; Section 5


           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.         The Plaintiff(s)

                                 a.        If the plaintiff is an individual
                                            The plaintiff, (name)                                                    , is a citizen of the
                                            State of (name)


                                 b.         If the plaintiff is a corporation
                                            The plaintiff, (name)                                                    , is incorporated
                                                                    - - ----------------
                                            under the laws of the State of (name)
                                            and has its principal place of business in the State of (name)



                                 (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                 same information for each additional plaintiff)

                      2.         The Defendant(s)

                                 a.         If the defendant is an individual
                                            The defendant, (name)                                                    , is a citizen of
                                                                       ----------------
                                            the State of (name)                                                    0 r is a citizen of
                                             (foreign nation)



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                                b.         If the defendant is a corporation
                                           The defendant, (name)                                          , is incorporated under
                                                                     ---------------
                                           the laws of the State of (name)                                          ' and has its
                                           principal place of business in the State of (name)
                                           Or is incorporated under the laws of (foreign nation)
                                           and has its principal place of business in (name)


                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                      3.        The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):




ID.        Statement of Claim

           Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
           was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights,
           including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
           claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
           needed.

           A.         Where did the events giving rise to your claim(s) occur?
                       On January 22, 2025 Donald Trump signed an Executive order that has halted a disabled minor child of
                       the Plaintiff from important federal civil rights protections. On or around January 22, 2025 or January 23,
                       2025 Chad Mizelle and or James R McHenry III and or Kathleen Wolfe sent a memorandum instructing
                       Justice Department leadership has put a freeze on civil rights litigation . Attorneys in the department's
                       Civil Rights Division were ordered not to file any new complaints, amicus briefs or other certain court
                       papers "until further notice," one of the memos said. Another memo directed attorneys to notify
                       leadership of any settlements or consent decrees - court-enforceable agreements to reform police
                       agencies - that were finalized by the Biden administration within the last 90 days.
           B.         What date and approximate time did the events giving rise to your claim(s) occur?

                       On January 23, 2025 a pending Civil Rights Complaint #04-25-1165 with the U.S. Department of
                       Education, Office of Civil Rights.




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          C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)
                      A disabled minor child of the Plaintiff had their 504 disability accommodations denied by The City
                      Schools of Decatur and Decatur High School several times.

                      Civil Rights Complaint #04-25-1165, initiated November 26, 2024 and being scheduled for mediation as
                      of December 18, 2024. As of January 7, 2025. With no response from the City Schools of Decatur the
                      plaintiff (working with Demetria Mills-Obadic, U.S. Department of Education, Office for Civil Rights)
                      inquired about starting the investigation and pursuing sanctions against The City Schools of Decatur and
                      Decatur High School for non compliance of Section 504 of the Rehabilitation Act of 1973.




IV.        Irreparable Injury

           Explain why monetary damages at a later time would not adequately compensate you for the injuries you
           sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
           could not be measured.
          As a parent, watching my child deteriorate during the denial of his 504 accommodations from August 2023 up
          until October of 2024 was devastating and left me no option but to file a Civil Rights complaint.

          Presently, the defendants actions on January 22, 2025 and the aforementioned memorandums deny recourse
          through federal law are considerably greater an injustice on top of the initial reason for complaint #04-25-1165.

          Monetary damages can not repair the halt of an ongoing investigation. Monetary damages can not make up the
          effects this has on a developing child brain, social adjustment and lifelong well being. Monetary damages cannot
          make up the loss of education and loss quality of life.




V.         Relief

           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.
          I pray this court grants an immediate halt to the aforementioned executive order and allows me to continue to
          pursue Civil Rights Complaint #04-25-1165.




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VI.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost oflitigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

           A.         For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case- related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.

                      Date of signing:


                      Signature of Plaintiff
                      Printed Name of Plaintiff

           B.         For Attorneys

                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                      Name of Law Firm
                      Street Address
                      State and Zip Code
                      Telephone Number
                      E-mail Address




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